                       Case1:18-cv-00295-LY
                      Case  1:18-cv-00295-LY Document
                                             Document 812 Filed 04/10/18
                                                            Filed 04/17/18Page 1 of12of 2
                                                                            Page
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         Western District of Texas


    Community Financial Services Association of
                                                                     )
   America, Ltd. and Consumer Service Alliance of                    )
                      Texas,                                         )
                                                                     )
                                                                     )
                            Plaint__..iffi
                                        ~i's~~- - ~
                                                                     )
                                V.                                           Civil Action No. 1:18-cv-00295-LY
                                                                     )
  Consumer Financial Protection Bureau and John                      )
  Michael Mulvaney, in his official capacity as Acting               )
  Director, Consumer Financial Protection Bureau,                    )
                                                                     )
                           Defendant(s)                              )

                                                      SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) CONSUMER FINANCIAL PROTECTION BUREAU
                                   1700 G St NW
                                   Washington, DC 20552




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                        Laura Jane Durfee
                                        Jones Day
                                        2727 North Hardwood Street
                                        Suite 600
                                        Dallas, TX 75201

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               .ID\NNEnE J. cucK
                                                                               CLERK OF COURT

          April 10, 2018
Date:
                                                                                         Signature of Clerk or Deputy Clerk
                   Case 1:18-cv-00295-LY Document 12 Filed 04/17/18 Page 2 of 2
               UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF TEXAS


Community Financial Services Association of America, Ltd., et al.


                                            Plaintiff

                                                                    vs.           CaseNo: 1:18-cv-00295-LY

Consumer Financial Protection Bureau, et al.


                                           Defendant

                                                 AFFIDAVIT OF SERVICE

I, David S. Felter, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons; Complaint; Civil Cover Sheet; Federal Rule of Civil Procedure
5. I Notice of a Constitutional Challenge; Plaintiffs' Corporate Disclosure Statements; Motion for Admission Pro Hae Vice
Regarding Michael A. Carvin with Attachment 1 and Proposed Order; and Motion for Admission Pro Hae Vice Regarding
Christian G. Vergonis with Attachment 1 and Proposed Order in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 04/11 /2018 at 3 :50 PM, I served Consumer Financial Protection Bureau with the Summons; Complaint; Civil Cover
Sheet; Federal Rule of Civil Procedure 5.1 Notice of a Constitutional Challenge; Plaintiffs' Corporate Disclosure Statements;
Motion for Admission Pro Hae Vice Regarding Michael A. Carvin with Attachment 1 and Proposed Order; and Motion for
Admission Pro Hae Vice Regarding Christian G. Vergonis with Attachment 1 and Proposed Order at 1990 K Street, NW,
Washington, DC 20006 by serving Stephen Bressler, Associate General Counsel, authorized to accept service.

Stephen Bressler is described herein as:

Gender: Male     Race/Skin: White     Age: 50 Weight: 190       Height: 5'11"   Hair: Brown    Glasses: Yes




I declare under penalty of perjury that this information is true.




     Lf- 1'2--IJ>
                                                                ~~
 Executed On


                                                                ~
                                                                                                              Client Ref Number:301600-605001
                                                                                                                            Job # : 1543404
               Capitol Process Services, Inc. I 1827 18th Street, NW, Washington, DC 20009 I (202) 667-0050
